                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


NLMK PENNSYLVANIA, LLC and NLMK
INDIANA, LLC

               Plaintiffs,                         Civil Action No. 2:21-cv-273

v.                                                 Hon. William S. Stickman IV

UNITED STATES STEEL CORPORATION,

               Defendant.


                                       HEARING MEMO

                      HEARING HELD: Videoconference Oral Argument
                          DATE HEARING HELD: May 6, 2021
                         BEFORE: Judge William S. Stickman IV

Appearing for Plaintiffs:                             Appearing for Defendant:
Sanford M. Litvack, Esquire                           Andy Stanton, Esquire
William Pietrogallo, II, Esquire                      Leon F. DeJulius, Esquire
Robert Matthew Burke, Esquire                         Roy A. Powell, Esquire
                                                      Tarek Abdalla, Esquire
                                                      Simone N. Dejarnett, Esquire

Argument began at 10:00 a.m.                          Argument concluded at 11:06 a.m.

Stenographer: Jane Proud

                                           OUTCOME:

The Court heard oral argument relative to NLMK Pennsylvania, LLC’s and NLMK Indiana,
LLC’s Motion to Remand, ECF No. 18.

The parties are to order and split the cost of the production of the transcript. After review of the
transcript, the Court will issue its decision.
